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                                           UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                JACKSONVILLE DIVISION

              In re: BOLLING, JOAN M.                                                           § Case No. 17-04392-3G7
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on December 28, 2017. The undersigned trustee was appointed on December 29, 2017.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                  9,000.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                  0.00
                                    Administrative expenses                                                 0.00
                                    Bank service fees                                                       5.00
                                    Other payments to creditors                                             0.00
                                    Non-estate funds paid to 3rd Parties                                    0.00
                                    Exemptions paid to the debtor                                           0.00
                                    Other payments to the debtor                                            0.00
                             Leaving a balance on hand of 1                         $                  8,995.00
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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               6. The deadline for filing non-governmental claims in this case was 05/29/2018
       and the deadline for filing governmental claims was 06/26/2018. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $1,650.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $1,650.00, for a total compensation of $1,650.00. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $83.38, for total expenses of
              2
       $83.38.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 12/14/2018                    By: /s/Gregory K. Crews
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                                                                                                         Exhibit A


                                                                                  Form 1                                                                                 Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 17-04392-3G7                                                                 Trustee:        (290900)     Gregory K. Crews
Case Name:        BOLLING, JOAN M.                                                        Filed (f) or Converted (c): 03/19/18 (c)
                                                                                          §341(a) Meeting Date:        04/20/18
Period Ending: 12/14/18                                                                   Claims Bar Date:             05/29/18

                                 1                                        2                          3                      4                   5                   6

                    Asset Description                                  Petition/            Estimated Net Value         Property           Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,   Abandoned           Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a)           the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                              Remaining Assets

 1       8712 SW 92nd Place, Unit E, Ocala, FL 34481-0000               105,008.00                           0.00         OA                         0.00                    FA
          Orig. Description: 8712 SW 92nd Place, Unit E,
         Ocala, FL 34481-0000, Marion County
         Single-family home, Land, The portion of Tract Y in
         Section 24, Township 16 South, Range 20 East,
         Marion County, FL, as shown on the Plat of CIRCLE
         SQUARE WOODS, as recorded in Plat Book P, Pages
         30-103 inclusive, of the P.R. of Marion County, FL.
         Entire property value: $105,008.00; Imported from
         original petition Doc# 1

 2       2015 Hyundai Elantra SE, 12,411 miles, (VIN: KMH                10,000.00                       4,359.45                                4,359.45                    FA
          Orig. Description: 2015 Hyundai Elantra SE, 12,411
         miles, (VIN: KMHDH4AH1FU447486). Entire property
         value: $10,000.00; Imported from original petition
         Doc# 1

 3       Misc kitchen items, misc linens, washer, dryer,                  2,530.00                           0.00                                    0.00                    FA
          Orig. Description: Misc kitchen items, misc linens,
         washer, dryer, vacuum cleaner, (10) chairs, (2) chest
         of drawers, (2) coffee tables, (7) end tables, dining
         table & chairs, (3) china cabinets, (2) dressers, bed,
         (5) lamps, (2) nightstands, sofa, (5) bookcases, filing
         cabinet, assorted wall hangings, lazy boy recliner,
         sofa, misc garden tools, misc hand tools, sofa bed,
         garage storage, TV trays, electric firplace; Imported
         from original petition Doc# 1

 4       Cell phone, (2) radios, (3) color tvs, assorted                      110.00                         0.00                                    0.00                    FA
          Orig. Description: Cell phone, (2) radios, (3) color
         tvs, assorted cds,dvds,cassettes; Imported from
         original petition Doc# 1

 5       Jacqueline Kennedy bride doll, silverplate teapo                     320.00                         0.00                                    0.00                    FA
          Orig. Description: Jacqueline Kennedy bride doll,
         silverplate teapots/trays, handmade music stand,
         sterling flatware (service for 8); Imported from original
         petition Doc# 1

 6       Yamaha piano, homemade dulcimer                                  1,010.00                           0.00                                    0.00                    FA
          Orig. Description: Yamaha piano, homemade


                                                                                                                                          Printed: 12/14/2018 01:19 PM   V.14.14
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                                                                                                                                                                         Exhibit A


                                                                                  Form 1                                                                                 Page: 2

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 17-04392-3G7                                                                 Trustee:        (290900)     Gregory K. Crews
Case Name:          BOLLING, JOAN M.                                                      Filed (f) or Converted (c): 03/19/18 (c)
                                                                                          §341(a) Meeting Date:        04/20/18
Period Ending: 12/14/18                                                                   Claims Bar Date:             05/29/18

                                  1                                       2                          3                      4                   5                   6

                    Asset Description                                  Petition/            Estimated Net Value         Property           Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,   Abandoned           Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a)           the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                              Remaining Assets

         dulcimer; Imported from original petition Doc# 1

 7       Diamond engagement ring, dinner ring, gold and d                 1,030.00                       1,030.00                                1,030.00                    FA
             Orig. Description: Diamond engagement ring, dinner
         ring, gold and diamond necklace, Citizens watch,
         bracelet gold plated; Imported from original petition
         Doc# 1

 8       Assorted clothing                                                    100.00                         0.00                                    0.00                    FA
             Orig. Description: Assorted clothing; Imported from
         original petition Doc# 1

 9       Cash                                                                  53.00                         0.00                                    0.00                    FA
             Orig. Description: Cash; Imported from original
         petition Doc# 1

10       Deposits of money: Bank of the Ozarks checking                       300.00                         0.00                                    0.00                    FA
             Orig. Description: Deposits of money: Bank of the
         Ozarks checking; Imported from original petition Doc#
         1

11       Ret. or Pension Acct.: General Motors pension fu                       0.00                         0.00                                    0.00                    FA
             Orig. Description: Ret. or Pension Acct.: General
         Motors pension fund (managed through Prudential
         Insurance of America)- pays monthly annuity; Imported
         from original petition Doc# 1

12       Ret. or Pension Acct.: US Military Widow's Pensi                       0.00                         0.00                                    0.00                    FA
             Orig. Description: Ret. or Pension Acct.: US Military
         Widow's Pension benefit (pays monthly annuity);
         Imported from original petition Doc# 1

13       Security dep. and prepayments: Security deposit                      263.00                         0.00                                    0.00                    FA
             Orig. Description: Security dep. and prepayments:
         Security deposit with Teco and Bay Laurel; Imported
         from original petition Doc# 1

14       America Financial Life and Annuity Ins Co.: Owne                 3,610.55                       3,610.55                                3,610.55                    FA
             Orig. Description: America Financial Life and Annuity
         Ins Co.: Owner/Beneficiary: Joan Bolling, Debtor;
         Imported from original petition Doc# 1

15       National Cremation Society Pre-need Cremation Se                 1,000.00                           0.00                                    0.00                    FA
             Orig. Description: National Cremation Society

                                                                                                                                          Printed: 12/14/2018 01:19 PM   V.14.14
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                                                                                                                                                                        Exhibit A


                                                                               Form 1                                                                                   Page: 3

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 17-04392-3G7                                                              Trustee:       (290900)      Gregory K. Crews
Case Name:         BOLLING, JOAN M.                                                    Filed (f) or Converted (c): 03/19/18 (c)
                                                                                       §341(a) Meeting Date:        04/20/18
Period Ending: 12/14/18                                                                Claims Bar Date:             05/29/18

                               1                                         2                        3                       4                    5                   6

                     Asset Description                               Petition/           Estimated Net Value          Property            Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled      (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                      Values           Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                     and Other Costs)                                                Remaining Assets

          Pre-need Cremation Service; Imported from original
          petition Doc# 1

 15      Assets      Totals (Excluding unknown values)                $125,334.55                  $9,000.00                                   $9,000.00                  $0.00



      Major Activities Affecting Case Closing:

                  12/14/18 TFR prepared.

      Initial Projected Date Of Final Report (TFR):      February 15, 2019               Current Projected Date Of Final Report (TFR):       December 14, 2018 (Actual)




                                                                                                                                         Printed: 12/14/2018 01:19 PM     V.14.14
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                                                                                                                                                                                   Exhibit B


                                                                                  Form 2                                                                                            Page: 1

                                                   Cash Receipts And Disbursements Record
Case Number:         17-04392-3G7                                                                    Trustee:              Gregory K. Crews (290900)
Case Name:           BOLLING, JOAN M.                                                                Bank Name:            Rabobank, N.A.
                                                                                                     Account:              ******5566 - Checking Account
Taxpayer ID #:       **-***8144                                                                      Blanket Bond:         $23,516,752.00 (per case limit)
Period Ending: 12/14/18                                                                              Separate Bond: N/A

   1             2                           3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction                    T-Code              $                  $               Account Balance
10/15/18                   Joan Bolling                      Payment pursuant to court order dated 7/25/18                              9,000.00                                   9,000.00
                                                             Doc #34.
               {2}                                              Acct #1; Payment #1              4,359.45       1129-000                                                           9,000.00
               {7}                                              Acct #1; Payment #1              1,030.00       1129-000                                                           9,000.00
               {14}                                             Acct #1; Payment #1              3,610.55       1129-000                                                           9,000.00
10/31/18                   Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                          5.00             8,995.00

                                                                                  ACCOUNT TOTALS                                        9,000.00                  5.00          $8,995.00
                                                                                           Less: Bank Transfers                             0.00                  0.00
                                                                                  Subtotal                                              9,000.00                  5.00
                                                                                           Less: Payments to Debtors                                              0.00
                                                                                  NET Receipts / Disbursements                         $9,000.00                 $5.00

                                  Net Receipts :         9,000.00
                                                                                                                                         Net             Net                    Account
                                    Net Estate :        $9,000.00                 TOTAL - ALL ACCOUNTS                                 Receipts     Disbursements               Balances

                                                                                  Checking # ******5566                                 9,000.00                  5.00             8,995.00

                                                                                                                                       $9,000.00                 $5.00          $8,995.00




{} Asset reference(s)                                                                                                                           Printed: 12/14/2018 01:19 PM        V.14.14
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                                              Court Claims Register
                                    Case: 17-04392-3G7               BOLLING, JOAN M.
                                                                                                                          Claims Bar Date:           05/29/18
 Claim   Claimant Name /                       Claim Type/   Claim Ref./               Amount Filed/                          Paid                    Claim
Number   <Category>, Priority                  Date Filed    Notes                         Allowed                           to Date                 Balance
 3       U.S. Bank National Association Trustee Secured                                     $179,154.95                          $0.00                   $0.00
         (See 410)                              01/29/18                                             $0.00
         c/o Specialized Loan Servicing LLC                  Claim disallowed pursuant to court order dated 12/12/18 Doc #47.
         8742 Lucent Blvd, Suite 300
         Highlands Ranch, CO 80129
         <4220-00 Pers. Prop. & Intangibles--Nonconsensual Liens (judgements, storage liens)>, 100
 4P      Internal Revenue Service              Priority                                       $11,190.70                         $0.00               $11,190.70
         PO Box 7346                           02/27/18                                       $11,190.70
                                                             PO Box 7346
         Philadelphia, PA 19101-7346                         Philadelphia, PA 191017346
                                                             --------------------------------------------------------------------------------* * *


         <5800-00 Claims of Governmental Units>, 570
 1       U.S. Bank National Association Trustee Unsecured                                   $173,660.62                          $0.00           $173,660.62
         (See 410)                              01/11/18                                    $173,660.62
         c/o Specialized Loan Servicing LLC                  c/o Specialized Loan Servicing LLC
         8742 Lucent Blvd, Suite 300                         8742 Lucent Blvd, Suite 300
         Highlands Ranch, CO 80129                           Highlands Ranch, CO 80129
                                                             --------------------------------------------------------------------------------* * *


         <7100-00 General Unsecured § 726(a)(2)>, 610
 2       U.S. Bank National Association Trustee Unsecured                                   $170,922.67                          $0.00           $170,922.67
         (See 410)                              01/11/18                                    $170,922.67
         c/o Specialized Loan Servicing LLC                  c/o Specialized Loan Servicing LLC
         8742 Lucent Blvd, Suite 300                         8742 Lucent Blvd, Suite 300
         Highlands Ranch, CO 80129                           Highlands Ranch, CO 80129
                                                             --------------------------------------------------------------------------------* * *


         <7100-00 General Unsecured § 726(a)(2)>, 610
 4U      Internal Revenue Service              Unsecured                                      $11,450.65                         $0.00               $11,450.65
         PO Box 7346                           02/27/18                                       $11,450.65
                                                             PO Box 7346
         Philadelphia, PA 19101-7346                         Philadelphia, PA 191017346
                                                             --------------------------------------------------------------------------------* * *


         <7100-00 General Unsecured § 726(a)(2)>, 610
 5       Wells Fargo Bank, N.A.                Unsecured                                       $4,722.90                         $0.00                $4,722.90
         PO Box 10438, MAC F8235-02F           03/01/18                                        $4,722.90
                                                             PO Box 10438, MAC F8235-02F
         Des Moines, IA 50306-0438                           Des Moines, IA 503060438
                                                             --------------------------------------------------------------------------------* * *


         <7100-00 General Unsecured § 726(a)(2)>, 610
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                                           Court Claims Register
                                Case: 17-04392-3G7                BOLLING, JOAN M.
                                                                                                                       Claims Bar Date:           05/29/18
 Claim   Claimant Name /                    Claim Type/   Claim Ref./               Amount Filed/                          Paid                    Claim
Number   <Category>, Priority               Date Filed    Notes                         Allowed                           to Date                 Balance
 6       Midland Funding LLC                Unsecured                                       $2,610.07                         $0.00               $2,610.07
         Po Box 2011                         03/07/18                                       $2,610.07
                                                          Po Box 2011
         Warren, MI 48090                                 Warren, MI 48090
                                                          --------------------------------------------------------------------------------* * *


         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                                      Case Total:                             $0.00           $374,557.61
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                                   TRUSTEE'S PROPOSED DISTRIBUTION                                       Exhibit D

             Case No.: 17-04392-3G7
             Case Name: BOLLING, JOAN M.
             Trustee Name: Gregory K. Crews
                                                Balance on hand:                           $            8,995.00
              Claims of secured creditors will be paid as follows:

Claim         Claimant                              Claim Allowed Amount Interim Payments                Proposed
No.                                               Asserted       of Claim          to Date               Payment
   3          U.S. Bank National                179,154.95                0.00                 0.00           0.00
              Association Trustee (See
              410)
                                                Total to be paid to secured creditors:     $                0.00
                                                Remaining balance:                         $            8,995.00

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments         Proposed
                                                                                       to Date        Payment
Trustee, Fees - Gregory K. Crews                                      1,650.00                 0.00       1,650.00
Trustee, Expenses - Gregory K. Crews                                     83.38                 0.00          83.38
                            Total to be paid for chapter 7 administration expenses:        $            1,733.38
                            Remaining balance:                                             $            7,261.62

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments         Proposed
                                                                                       to Date        Payment
                                                      None
                            Total to be paid for prior chapter administrative expenses:    $                0.00
                            Remaining balance:                                             $            7,261.62

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $11,190.70 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
   4P         Internal Revenue Service                               11,190.70                 0.00       7,261.62




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                                                 Total to be paid for priority claims:      $            7,261.62
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 363,366.91 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            U.S. Bank National Association Trustee (See          173,660.62                  0.00              0.00
               410)
  2            U.S. Bank National Association Trustee (See          170,922.67                  0.00              0.00
               410)
  4U           Internal Revenue Service                               11,450.65                 0.00              0.00
  5            Wells Fargo Bank, N.A.                                  4,722.90                 0.00              0.00
  6            Midland Funding LLC                                     2,610.07                 0.00              0.00
                             Total to be paid for timely general unsecured claims:          $                0.00
                             Remaining balance:                                             $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $                0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




  UST Form 101-7-TFR (05/1/2011)
